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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
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10
      UNITED STATES OF AMERICA,

11
                      Plaintiff,                                 Case No. CR06-41L

12
                vs.
                                                                 ORDER DENYING MOTION FOR
13
      JOSHUA BINDER,                                             REVOCATION OF DETENTION
                                                                 ORDER
14
                      Defendant.

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            This matter comes before the Court on “Defendant Binder’s Motion For Revocation Of

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     Detention Order” (Dkt. # 36).1 The Honorable James P. Donohue, United States Magistrate

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     Judge, issued the February 21, 2006 detention order after determining that defendant posed a

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     danger to the community.

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            The Court has reviewed the recorded February 17, 2006 detention hearing, defendant’s

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     motion for revocation of the detention order, the Government’s opposition to revocation of the

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     detention order and the remainder of the record. It considers de novo the detention order issued

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               This matter can be decided on the recorded February 17, 2006 detention hearing, the
26   memoranda submitted by the parties and the remainder of the record. In making its decision, the Court
     did not consider the testimony of Ms. Walsh. Defendant’s request for oral argument is DENIED.
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     ORDER DENYING MOTION FOR REVOCATION
28   OF DETENTION ORDER - 1
            Case 2:06-cr-00041-RSL          Document 59     Filed 03/13/06     Page 2 of 3



 1   by Judge Donohue. U.S. v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990).
 2          The Court will detain defendant prior to trial if it determines “that no condition or
 3   combination of conditions will reasonably assure . . . the safety of any other person and the
 4   community.” 18 U.S.C. § 3142(e). Pursuant to 18 U.S.C. § 3142(g), the Court considers four
 5   factors when deciding if defendant is a danger to the community: “(1) [t]he nature and
 6   circumstances of the offense charged . . . (2) the weight of the evidence against the person; (3)
 7   the history and characteristics of the person . . . (4) the nature and seriousness of the danger to
 8   any person or the community that would be posed by the person’s release.” The Government
 9   bears the burden of establishing “by clear and convincing evidence that the defendant poses a
10   danger to the community.” United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991).
11           The Court finds by clear and convincing evidence that defendant poses a danger to the
12   community. Defendant is charged with numerous crimes including racketeering, conspiracy to
13   murder in aid of racketeering and murder in aid of racketeering. Although the Government has
14   indicated that it does not intend to seek the death penalty, defendant’s murder count is a capital
15   crime. In addition, defendant has a criminal history that includes an arrest for domestic violence
16   assault and a conviction for drug possession. Finally, defendant has previously been involved
17   with the Washington Nomads Chapter of the Hells Angels Motorcycle Club. The Government
18   describes an uncharged 2003 incident during which defendant is alleged to have threatened a
19   victim who had spoken with lawyers involved in the trial of a Hells Angels prospect. These
20   facts clearly demonstrate that defendant poses a significant risk to individuals involved in this
21   trial and to the community at large.
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     ORDER DENYING MOTION FOR REVOCATION
28   OF DETENTION ORDER - 2
           Case 2:06-cr-00041-RSL      Document 59      Filed 03/13/06     Page 3 of 3



 1         For all of the foregoing reasons, “Defendant Binder’s Motion For Revocation Of
 2   Detention Order” (Dkt. #36) is DENIED.
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 4         DATED this 13th day of March, 2006.
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 6                                                 A
                                                   Robert S. Lasnik
 7                                                 United States District Judge
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     ORDER DENYING MOTION FOR REVOCATION
28   OF DETENTION ORDER - 3
